                             Case 24-12006-TMH                        Doc 1        Filed 09/09/24            Page 1 of 16

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                        Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Fulcrum Sierra BioFuels, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   XX-XXXXXXX
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                                  P.O. Box 220                                             _______________________________________________
                                              ______________________________________________
                                                                                                           P.O. Box
                                                  Pleasanton                   CA         94566
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  Alameda
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
                              Case 24-12006-TMH                  Doc 1       Filed 09/09/24             Page 2 of 16

Debtor         Fulcrum Sierra BioFuels, LLC
              _______________________________________________________                        Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              3241
                                              _BBBBBBB

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                          affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                         recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                          income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                            11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                               Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return, or if
                                                               any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                               § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor          Fulcrum Sierra BioFuels, LLC
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a
                                                        See Schedule 1
                                          Yes. Debtor _____________________________________________ Relationship _________________________
      business partner or an
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                                         3600 Peru Drive
                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________
                                                                             Sparks
                                                                            _______________________________________          NV
                                                                                                                            _______    89437
                                                                                                                                      ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                   No
                                                                           Indian Harbor Insurance Company/XL Catlin
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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             Fulcrum Sierra BioFuels, LLC
Debtor      _______________________________________________________                             Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of        Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                         Q   I have been authorized to file this petition on behalf of the debtor.

                                         Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                            09   /09/2024
                                             Executed on _________________
                                                         MM / DD / YYYY


                                         8 /s/ Mark J. Smith
                                             _____________________________________________
                                                                                                          Mark J. Smith
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   Chief Restructuring Officer
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor       Fulcrum Sierra BioFuels, LLC
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      8 /s/ Robert J. Dehney
                                          _____________________________________________            Date        09/09/2024
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                          Robert J. Dehney
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Morris, Nichols, Arsht & Tunnell LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         1201        North Market Street
                                         _________________________________________________________________________________________________
                                         Number     Street
                                          Wilmington
                                         ____________________________________________________             DE
                                                                                                         ____________  19899-1347
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          (302) 658-9200
                                         ____________________________________                             rdehney@morrisnichols.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          3578
                                         ______________________________________________________  DE
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                             Schedule 1

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case, collectively, the “Debtors”) filed a voluntary petition for relief under chapter 11
of title 11 of the United States Code in the United States Bankruptcy Court for the District of
Delaware) (the “Court”). A motion will be filed with the court requesting that the chapter 11 cases
of each entity listed below be consolidated for procedural purposed only and jointly administered,
pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure, under the case number
assigned to the chapter 11 case of Fulcrum BioEnergy, Inc.

                                            Company
                                    Fulcrum BioEnergy, Inc.
                                  Fulcrum Sierra Holdings, LLC
                              Fulcrum Sierra Finance Company, LLC
                   Case 24-12006-TMH            Doc 1    Filed 09/09/24      Page 7 of 16




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re                                                     Chapter 11

    FULCRUM BIOENERGY, INC. et al.,                           Case No. 24 -_____ (___)

                                     Debtor.1              (Joint Administration Requested)


       CORPORATE OWNERSHIP STATEMENT AND LIST OF EQUITY INTEREST
      HOLDERS PURSUANT TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

                    Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of

Bankruptcy Procedure, the above-captioned debtor and debtor in possession, to the best of its

knowledge, information, and belief, hereby states as follows:

                    Fulcrum Sierra BioFuels, LLC is 100% owned by Fulcrum Sierra Finance

Company, LLC, whose address is also P.O. Box 220 Pleasanton, CA 94566.




1
            The debtors and debtors in possession in these chapter 11 cases, along with each debtor’s federal
            tax identification numbers are: Fulcrum BioEnergy, Inc. (3733); Fulcrum Sierra BioFuels, LLC
            (1833); Fulcrum Sierra Finance Company, LLC (4287); and Fulcrum Sierra Holdings, LLC (8498).
            The location of the Debtors’ service address is: Fulcrum BioEnergy Inc., P.O. Box 220 Pleasanton,
            CA 94566.
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                   UNANIMOUS ELECTRONIC CONSENT
                                 OF
          THE EXECUTIVE COMMITTEE OF THE BOARD OF DIRECTORS
                                 OF
                       FULCRUM BIOENERGY, INC.

               The undersigned, being all of the members of the Executive Committee of the
Board of Directors (the “Executive Committee”) of Fulcrum BioEnergy, Inc., a Delaware
corporation (the “Parent”), the Parent acting in its capacity as the sole member of Fulcrum Sierra
Holdings, LLC, a Delaware limited liability company (“Holdings”), Holdings acting in its capacity
as the sole member of Fulcrum Sierra Finance Company, LLC, a Delaware limited liability
company (“Finance”), Finance acting in its capacity as the sole member of Fulcrum Sierra
BioFuels, LLC, a Delaware limited liability company (the “Company”), do hereby adopt the
following resolutions pursuant to Section 141(f) of the Delaware General Corporation Law and
with the authority granted to the Executive Committee by the Board of Directors of the Parent:

               WHEREAS, the Executive Committee has considered the information
       presented by the management and legal advisors of the Company regarding the
       financial condition of the Company;

               WHEREAS, the Executive Committee has considered the advice of
       legal and other advisors as to the relative risks and benefits of the Company
       pursuing a bankruptcy case under the provisions of title 11 of the United States
       Code (the “Bankruptcy Code”); and

               WHEREAS, the Executive Committee, with the advice of legal and
       other advisors, has fully considered each of the strategic alternatives available
       to the Company.

              NOW THEREFORE, BE IT RESOLVED, that in the judgment of the
       Executive Committee, it is desirable and in the best interests of the Company,
       its members, the creditors of the Company and other interested parties that a
       voluntary petition (the “Petition”) be filed by the Company under the provisions
       of Chapter 11 of the Bankruptcy Code on behalf of the Company (the
       “Bankruptcy Case”);

               FURTHER RESOLVED, that Rick Barraza, Mark Smith and each other
       officer of Parent and/or the Company (each, an “Authorized Officer,” and,
       collectively, the “Authorized Officers”), acting individually, is hereby
       authorized, empowered and directed, in the name and on behalf of the
       Company, to execute and verify the Petition in the name of the Company under
       Chapter 11 of the Bankruptcy Code and to cause the same to be filed in the
       United States Bankruptcy Court for the District of Delaware in such form and
       at such time as the Authorized Officer executing the Petition on behalf of the
       Company shall determine, such determination to be conclusively evidenced by
       the execution thereof by such Authorized Officer;
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       FURTHER RESOLVED, that each of the Authorized Officers is hereby
authorized, empowered, and directed, in the name and on behalf of the
Company, to retain (i) Morris, Nichols, Arsht & Tunnell LLP as bankruptcy
counsel, (ii) Development Specialists, Inc. as financial advisor and investment
banker, and (iii) Kurtzman Carson Consultants, LLC dba Verita Global as
claims and noticing agent, on such terms as any Authorized Officer shall deem
necessary, appropriate or desirable and subject to any required approvals of the
Bankruptcy Court;

        FURTHER RESOLVED, that each of the Authorized Officers is hereby
authorized and directed, in the name and on behalf of the Company, to execute,
deliver and file all petitions, schedules, motions, lists, applications, pleadings,
and other papers and, in connection therewith, to employ and retain all
assistance by legal counsel, and to take and perform any and all further acts and
deeds that such Authorized Officer deems necessary or desirable in connection
with the Bankruptcy Case;

         FURTHER RESOLVED, that each of the Authorized Officers shall be,
and hereby is, authorized to file or cause to be filed a motion seeking approval
of one or more sales transactions, subject to such modifications thereto as such
Authorized Officer may deem necessary or advisable in order to give effect to
and carry out the general purposes of such sale transactions, including (i)
bidding procedures, a stalking horse purchaser and the payment of certain fees
(including expense reimbursement and breakup fees) to the stalking horse
purchaser; (ii) a plan of reorganization or liquidation, associated disclosure
statement, to the extent applicable, and all other related documents, and
consummate, and perform under, the transactions contemplated therein and/or
(iii) to dismiss or close the Chapter 11 Cases and execute all related documents
as may be reasonably necessary or desirable in the best interests of the Company
and its stakeholders;

       FURTHER RESOLVED, that each of the Authorized Officers is hereby
authorized and directed, in the name and on behalf of the Company, to do or
not do any and all acts or things which may be necessary or appropriate to
perform the Company’s obligations concerning the Bankruptcy Case;

        FURTHER RESOLVED, without limiting the generality of the
foregoing, that each of the Authorized is hereby authorized for and on behalf of
the Company to execute and deliver, and to cause the Company to perform its
obligations under, such other agreements, certificates, instruments and
documents, and to do, or cause to be done, all such other acts and deeds, as any
Authorized Officer may determine to be necessary or advisable in connection
with the Bankruptcy Case or otherwise to effectuate any and all of the foregoing
resolutions, the execution thereof by any Authorized Officer or the taking of



                                           2
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such other action or deeds by any Authorized Officer to be conclusive evidence
of such determination and the authority therefor; and

        FURTHER RESOLVED, that any and all actions heretofore taken by
any Authorized Officer consistent with the purpose and intent of the foregoing
resolutions are hereby authorized, ratified, approved, confirmed and adopted in
all respects as the acts and deeds of the Company as fully as if such actions had
been presented to the Executive Committee for their prior approval.


                                              ###




                                         3
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                                              
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                                                           Executive Committee of the
                                                           Board of Directors:


                                                           ___________________________
                                                           Name: Andrew C. Kidd

                                                           Date: ___09/08/2024___________


                                                           ___________________________
                                                           Name: Carin Marcy Barth

                                                           Date: ___09/08/2024__________


                                                           ___________________________
                                                           Name: Mark J. Smith

                                                           Date: ___09/08/2024___________


                                                           ___________________________
                                                           Name: Richard D. Barraza

                                                           Date: ___09/08/2024___________
                                                 Case 24-12006-TMH                      Doc 1            Filed 09/09/24                    Page 12 of 16


Fill in this information to identify the case:

Debtor name: Fulcrum BioEnergy, Inc., et al .,

United States Bankruptcy Court for the District of Delaware
                                                                                                                                                                                            Check if this is an
Case number (If known):                                                                                                                                                                     amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                                                                           12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is
an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
holders of the 30 largest unsecured claims.

Name of creditor and complete                             Name, telephone number, and                     Nature of the claim   Indicate if       Amount of unsecured claim
mailing address, including zip code                       email address of creditor                       (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                                          contact                                         debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in
                                                                                                          professional          unliquidated,    total claim amount and deduction for value of
                                                                                                          services, and         or disputed      collateral or setoff to calculate unsecured claim.
                                                                                                          government
                                                                                                          contracts)
                                                                                                                                                 Total claim, if       Deduction for        Unsecured
                                                                                                                                                 partially             value of             claim
                                                                                                                                                 secured               collateral or
                                                                                                                                                                       setoff


1    TEACHERS INSURANCE AND ANNUITY                                                                       LOAN                                                                                     $39,894,423.00
     ASSOCIATION OF AMERICA (3&/
     $GPLQLVWUDWLRQ//&$6$*(17)
     730 THIRD AVENUE
     NEW YORK, NY 55402



2    SPECIALTY WELDING & TURNAROUNDS, LLC                 JIMMY QUICK                                     TRADE                                                                              $     10,524,332.33
     JIMMY QUICK                                          PHONE: 225-664-1200
     40492 CANNON ROAD                                    EMAIL: JQUICK@SWATSERVICE.COM
     GONZALES, LA 70737




3    RUSTIC CANYON VENTURES III LP                                                                        LOAN                                                                               $       5,000,000.00
     1025 WESTWOOD BLVD
     2ND FLOOR
     LOS ANGELES, CA 90024




4    SCHMUESER & ASSOCIATES, LLC                          JAY THOMPSON                                    TRADE                                                                              $       3,219,752.68
     JAY THOMPSON                                         PHONE: 970-263-6061
     811 22 ROAD
     GRAND JUNTION, CO 81505




5    AQUATECH INTERNATIONAL, LLC                          AR MUTHIAH                                      TRADE                                                                              $       2,724,385.62
     AR MUTHIAH                                           PHONE: 724-746-5300
     1 FOUR COINS DRIVE                                   EMAIL: MUTHIAHA@AQUATECH.COM
     CANONSBURG, PA 15317




6    ARVOS GMBH - SCHMIDTSCHE SCHACK                      KLAUS MAURER                                    TRADE                                                                              $       2,564,832.19
     KLAUS MAURER                                         PHONE: (49) (211) 4726-167
     PARSEVALSLRABE 9A                                    EMAIL: KLAUS.MAURER@ARVOS-GROUP.COM
     DUSSELDORF, D-40468
     GERMANY



7    HOGAN LOVELLS                                                                                        PROFESSIONAL                                                                       $       2,270,235.97
     555 13TH ST. NW                                      PHONE: (202) 637-5600                           SERVICES
     WASHINGTON, DC 20004




8    SPARTAN COMPANIES 300 LLC                            DILLON HALL                                     TRADE                                                                              $       2,244,949.65
     DILLON HALL                                          PHONE: (855) 277-2782
     116 WEST 100 SOUTH                                   EMAIL: DHALL@SPARTANCOS.COM
     RICHMOND, UT 84333




Official Form 204                                             Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                      Page 1
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Name of creditor and complete             Name, telephone number, and               Nature of the claim   Indicate if      Amount of unsecured claim
mailing address, including zip code       email address of creditor                 (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                          contact                                   debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                    professional          unliquidated,   total claim amount and deduction for value of
                                                                                    services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                    government
                                                                                    contracts)
                                                                                                                          Total claim, if       Deduction for        Unsecured
                                                                                                                          partially             value of             claim
                                                                                                                          secured               collateral or
                                                                                                                                                setoff


9    LINDE INC.                           ADRIAN DENEYS                             TRADE                                                                             $       2,160,214.96
     ADRIAN DENEYS                        PHONE: 925-487-4962
     10 RIVERVIEW DR.                     EMAIL: ADRIAN.DENEYS@LINDE.COM
     DANBURY, CT 06810




10   SIEMENS ENERGY, INC.                 ED SHEA                               TRADE                                                                                 $       1,784,448.77
     ED SHEA                              PHONE: 716-375-3129
     229 FIRST STREET                     EMAIL: EDWARD.SHEA@SIEMENS-ENERGY.COM
     PAINTED POST, NY 14870




11   C2C TECHNICAL SERVICES LLC                                                     TRADE                                                                             $       1,744,956.59
     31B S LOGAN STREET                   PHONE: (832) 905-1002
     TEXAS CITY, TX 77590-8346




12   DRESSER-RAND GROUP INC               JEFF CROUCH                               TRADE                                                                             $       1,311,017.90
     JEFF CROUCH                          PHONE: 716-375-3129
     1200 W SAM HOUSTON PKWY N            EMAIL: JEFFREY.CROUCH@SIEMENS.COM
     HOUSTON, TX 77043




13   ANKURA INTERMEDIATE HOLDINGS, LP                                               PROFESSIONAL                                                                      $         999,600.78
     485 LEXINGTON AVE.                   PHONE: (212) 818-1555                     SERVICES
     10TH FLOOR
     NEW YORK, NY 10017-2619




14   AEGION ENERGY SERVICES, INC          ANDREA CREECH                             TRADE                                                                             $         990,199.42
     (BRINDERSON, LLC)                    PHONE: 661-243-8826
     ANDREA CREECH                        EMAIL: ANDREA.CREECH@BRINDERSON.COM
     18841 S. BROADWALK ST.
     SUITE 200
     RANCHO DOMINGUEZ, CA 90220


15   THE COLT GROUP INTERMEDIATE HOLDINGS, JENNIFER WATSON                          TRADE                                                                             $         974,333.00
     LP                                    PHONE: (281) 471-9099
     JENNIFER WATSON                       EMAIL: JENNIFER.WATSON@COLTGRP.COM
     626 N. 16TH ST
     LA PORTE, TX 77571



16   DELOITTE & TOUCHE LLP                BARRY SHOEMAKE                            PROFESSIONAL                                                                      $         956,785.00
     BARRY SHOEMAKE                       PHONE: (408) 499-8013                     SERVICES
     30 ROCKEFELLER PLAZA                 EMAIL: BSHOEMAKE@DELOITTE.COM
     NEW YORK, NY 10112




17   JT THORPE INDUSTRIAL INC.            KAMI HARDMAN                              TRADE                                                                             $         949,175.17
     KAMI HARDMAN                         PHONE: (385) 271-3572
     1132 SOUTH 500 WEST                  EMAIL: 1TTIAR@JTTHORPE.COM
     SALT LAKE CITY, UT 84101




18   BLACK & VEATCH CORPORATION           SONIA AFIFI                               PROFESSIONAL                                                                      $         883,674.38
     SONIA AFIFI                          PHONE: 734-622-8594                       SERVICES
     11401 LAMAR AVENUE                   EMAIL: AFIFISN@BV.COM
     OVERLAND PARK, KS 66211




Official Form 204                            Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                Page 2
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Name of creditor and complete               Name, telephone number, and               Nature of the claim   Indicate if      Amount of unsecured claim
mailing address, including zip code         email address of creditor                 (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                                   debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                      professional          unliquidated,   total claim amount and deduction for value of
                                                                                      services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                      government
                                                                                      contracts)
                                                                                                                            Total claim, if       Deduction for        Unsecured
                                                                                                                            partially             value of             claim
                                                                                                                            secured               collateral or
                                                                                                                                                  setoff


19   JOHNSON MATTHEY DAVY TECHNOLOGIES      NIGEL GAMBLE                              PROFESSIONAL                                                                      $         862,741.40
     LTD                                    PHONE: (44) (207) 9573-535                SERVICES
     NIGEL GAMBLE                           EMAIL: NIGEL.GAMBLE@MATTHEY.COM
     10 EASTBOURNE TERRACE
     LONDON, W2 6LG
     UNITED KINGDOM


20   MARATHON PETROLEUM COMPANY                                                       TRADE                                                                             $         858,925.00
     539 SOUTH MAIN ST                      PHONE: (419) 422-2121
     FINDLAY, OH 45840




21   AIR PRODUCTS                           ROBERT POLLACK                            TRADE                                                                             $         829,138.14
     ROBERT POLLACK                         PHONE: 415-291-8320
     1940 AIR PRODUCTS BLVD.                EMAIL: RLPOLLAK@GLASSBERG-POLLAK.COM
     ALLENTOWN, PA 18106-5500




22   UNITED RENTALS (NORTH AMERICA), INC.   STEPHANIE LASNE                           TRADE                                                                             $         740,347.21
     STEPHANIE LASNE                        PHONE: 704-916-4828
     100 STAMFORD PL.                       EMAIL: SLASNE@UR.COM
     SUITE 700
     STAMFORD, CT 06902-9200



23   AIRGAS USA, LLC                        CARMELA ECLARINAL-LOPEZ                   TRADE                                                                             $         692,275.60
     CARMELA ECLARINAL-LOPEZ                PHONE: 213-561-0019
     259 NORTH RADNOR-CHESTER RD.           EMAIL: CARMELA.ECLARINAL-
     SUITE 100                              LOPEZ@AIRGAS.COM
     RADNOR, PA 19087-5283



24   SAVAGE SERVICES CORPORATION            AMY SMEDLEY                               TRADE                                                                             $         680,400.00
     AMY SMEDLEY                            PHONE: 800-827-4439
     901 W. LEGACY CENTER WAY               EMAIL: AMYSMEDLEY@SAVAGESERVICES.COM
     MIDVALE, UT 84047




25   APEX GRADING & PAVING, INC.            RYAN BERINDEAN                            TRADE                                                                             $         654,493.75
     RYAN BERINDEAN                         PHONE: (775) 852-9701
     PO BOX 19045                           EMAIL: RYAN@APEXGP.NET
     RENO, NV 89511




26   SOUTHERN INDUSTRIAL CONSTRUCTORS,      NICOLE CASTLE                             TRADE                                                                             $         604,121.75
     INC.                                   PHONE: 919-782-4600
     NICOLE CASTLE                          EMAIL:
     6101 TRIANGLE DRIVE                    NICOLE.CASTLE@SOUTHERNINDUSTRIAL.COM
     RALEIGH, NC 27617



27   BECHT ENGINEERING CO., INC.            HALEY BECHTLE                             TRADE                                                                             $         479,976.16
     HALEY BECHTLE                          PHONE: (908) 394-1235
     22 CHURCH STREET                       EMAIL: HBECHTLE@BECHT.COM
     LIBERTY CORNER, NJ 7938




28   DLA PIPER LLP                          CHRISTOPHER LYNNE                         PROFESSIONAL                                                                      $         411,473.08
     CHRISTOPHER LYNNE                      PHONE: (813) 498-6378                     SERVICES
     2000 UNIVERSITY AVE.                   EMAIL:
     PALO ALTO, CA 94303                    CHRISTOPHER.LYNNE@US.DLAPIPER.COM




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Name of creditor and complete             Name, telephone number, and               Nature of the claim   Indicate if      Amount of unsecured claim
mailing address, including zip code       email address of creditor                 (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                          contact                                   debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                    professional          unliquidated,   total claim amount and deduction for value of
                                                                                    services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                    government
                                                                                    contracts)
                                                                                                                          Total claim, if       Deduction for        Unsecured
                                                                                                                          partially             value of             claim
                                                                                                                          secured               collateral or
                                                                                                                                                setoff


29   WASHINGTON MILLS ELECTRO MINERALS    KATHY DUNDAS                              TRADE                                                                             $         366,136.75
     CORP.                                PHONE: (716) 278-6745
     KATHY DUNDAS                         EMAIL: KDUNDAS@WASHINGTONMILLS.COM
     1801 BUFFALO AVENUE
     NIAGARA FALLS, NY, NY 14302



30   WASTE MANAGEMENT                     HERBERT HOCHMAYER                         TRADE                                                                             $         363,292.95
     HERBERT HOCHMAYER                    PHONE: (844) 492-0474
     LOCKWOOD REGIONAL LANDFILL           EMAIL: HHOCHMAY@WM.COM
     PO BOX 541065
     LOS ANGELES, CA, CA 90054-1065




Official Form 204                            Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                Page 4
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 Fill in this information to identify the case and this filing:


               )XOFUXP6LHUUD%LR)XHOV//&
 Debtor Name __________________________________________________________________
                                                                               'HODZDUH
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

         
         ; Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         
         ; Other document that requires a declaration__________________________________________________________________________________
                                                       &RUSRUDWH2ZQHUVKLS6WDWHPHQWDQG/LVWRI(TXLW\,QWHUHVW+ROGHUV




        I declare under penalty of perjury that the foregoing is true and correct.


                    
        Executed on ______________                         8 /s/ Mark J. Smith
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                0DUN-6PLWK
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  &KLHI5HVWUXFWXULQJ2IILFHU
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
